      Case 1:22-cv-00448-DAE         Document 83-1       Filed 05/24/24      Page 1 of 27




                       UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF TEXAS - AUSTIN DIVISION

 JEREMY STORY,                            §
 Plaintiff,                               §
                                          §
 v.                                       §               Civil Action No. 1:22-cv-448-RP
                                          §
 HAFEDH AZAIEZ, et al.                    §
   Defendants.                            §

             SECOND SUPPLEMENT TO THIRD AMENDED COMPLAINT

       The exhibits attached herein add to the evidence already filed in support of Story’s Third

Amended Complaint, and is relevant also to the Defendants’ various motions to dismiss.

       The evidence attached includes nine exhibits. The first exhibit is a declaration of Jeremy

Story, which provides additional narrative surrounding the release of a police report released

publicly only recently, and various public statements made by Round Rock ISD board members.

              Respectfully submitted,

              /s/ Warren V. Norred
              Warren V. Norred, wnorred@norredlaw.com
              NORRED LAW, PLLC; 515 E. Border Street; Arlington, TX 76010
              O: 817-704-3984 / F: 817-524-6686
              Attorney for Plaintiff Jeremy Story

Attached:
Exhibit 1: Declaration of Jeremy Story (authenticating exhibits and narrative on events)
Exhibit 2: Letter from Chief Weiner (regarding Azaiez cover up and RRISD interference)
Exhibit 3: RRISD Trustee Weston Statement (RRISD Board president sat on letter for 16 days)
Exhibit 4: Defendant RRISD Board Member Statements (demonstrating cover up)
Exhibit 5: Culture and Climate Report (detailing RRISD Board pattern of behavior)
Exhibit 6: RRISD Statement (on Lauren Griffith’s promotion)
Exhibit 7: Letters from Williamson County to Chief Weiner and Superintendent Azaiez
Exhibit 8: Email showing open records request
Exhibit 9: AG Opinion on Letter from Chief Weiner

CERTIFICATE OF SERVICE - I hereby certify that on May 24, 2024, this proposed Second
Supplement to Plaintiffs’ Third Amended Complaint was served via the court’s electronic filing
system on all parties seeking service.    /s/Warren V. Norred
                                          Warren V. Norred
1:22-CV-448-RP, PLAINTIFF’S SECOND SUPPLEMENT TO THIRD AMENDED COMPLAINT
      Case 1:22-cv-00448-DAE       Document 83-1    Filed 05/24/24   Page 2 of 27

                                                                           EXHIBIT 1


                 UNITED STATES DISTRICT COURT
           WESTERN DISTRICT OF TEXAS - AUSTIN DIVISION

 JEREMY STORY,                          §
 Plaintiff,                             §
                                        §
 v.                                     §       Civil Action No. 1:22-cv-448-RP
                                        §
 HAFEDH AZAIEZ, et al.                  §
   Defendants.                          §

                  DECLARATION OF JEREMY WADE STORY

       I, Jeremy Story, a citizen of the United States and a resident of the State of

Texas, declare under penalty of perjury under 28 U.S.C. § 1746 that the following

statements are true and correct.

1.     On May 14, 2024, after waiting for the Attorney General’s ruling, I obtained

the letter from Chief Weiner regarding Defendant Azaiez’s cover up of a sexual

assault of a five-year-old through an open’s record request with RRISD. See Exhibit

2, 8, and 9. This letter also shows that the RRISD has a custom of interfering in

RRISD Police Department activities. An example mentioned is Defendant Azaiez

using Dr. Natalie Nichols to suggest that RRISD should be able to direct and require

the RRISD police department to do as they please. Chief Weiner specifically states

“Since joining the Round Rock ISD… I have experienced numerous practices of

non-reporting and delayed reporting of crimes, and interference with police

operations and investigations by district staff.”



Story’s Second Supplement – Exhibit 1                                         p. 1 of 3
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                                                                                                       EXHIBIT 1


2.       I took a screenshot of RRISD Trustee Danielle Weston’s Facebook statement

that states Defendant Amber Feller Landrum, President of the RRISD Board, did not

present Chief Weiner’s letter for sixteen days before presenting it to the RRISD

board for any action. See Exhibit 3.

3.       I have included a snip of a Facebook post by Defendant Tiffanie Harrison

representing her response to Danielle Weston’s post as the “Official Statement from

the Round Rock ISD Board Officers, President Amber Feller Landrum, Vice

President Tiffanie N. Harrison” where they double down, attack Daniell Weston,

and excuse their actions to cover up the release of the report. See Exhibit 4.

4.       RRISD Trustee Danielle Weston also posted snips of the “Final Report

Investigation of the Culture and Climate in the Round Rock Police Department”,

after which I acquired the entire report, and the “Responses to Investigation Report

for Audit Department” by open records request from RRISD. See Exh. 5 and 8. The

report details the chaotic and discriminatory environment in RRISD’s Police

Department (“RRISD PD”).

5.       I took a screenshot of an article published by CBS Austin quoting a statement

made by Round Rock ISD that Lauren Griffith will serve as Interim Chief.1 See



1
 https://cbsaustin.com/news/local/round-rock-isd-announces-new-interim-police-chief-lauren-griffith (“As of
Tuesday, May 14, the Round Rock ISD Police Department is now under the leadership of Interim Chief Lauren
Griffith. She served in the role two years ago for our district and has served the students and staff of Round Rock
ISD since 2020, becoming a sergeant in 2021. We welcome Interim Chief Griffith and look forward to a smooth
continuation of service.”) (Last accessed, May 23, 2024.)

Story’s Second Supplement – Exhibit 1                                                                       p. 2 of 3
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                                                                                 EXHIBIT 1


Exhibit 6. This statement also reveals that Griffith was made interim chief right

immediately after Yarborough resigned. (Yarborough was the chief of RRISD PD

when I was assaulted by the RRISD PD officers.)

6.     The events described above correspond to the concerns brought up in the

August 23, 2023 letter from Wilco County Judge’s Office, the Wilco Emergency

Services Department, the Wilco Technology Services Department, and the

Williamson County Sheriff’s Office (“Wilco Entities”). The letter from the Wilco

Entities expresses deep concern about the RRISD PD’s practices, specifically the

self-dispatch by RRISD PD on September 30, 2023. This letter was made public

through a public information request.

7.     I have attached true copies of the exhibits, each of which either I created or

RRISD created, including:

Attached:
Exhibit 1: Declaration of Jeremy Story (authenticating exhibits and narrative on events)
Exhibit 2: Letter from Chief Weiner (regarding Azaiez cover up and RRISD interference)
Exhibit 3: RRISD Trustee Weston Statement (RRISD Board president sat on letter for 16 days)
Exhibit 4: Defendant RRISD Board Member Statements (demonstrating cover up)
Exhibit 5: Culture and Climate Report (detailing RRISD Board pattern of behavior)
Exhibit 6: RRISD Statement (on Lauren Griffith’s promotion)
Exhibit 7: Letters from Williamson County to Chief Weiner and Superintendent Azaiez
Exhibit 8: Email showing open records request
Exhibit 9: AG Opinion on Letter from Chief Weiner

Executed this 23rd of May 2024.


_____________________
Jeremy Story



Story’s Second Supplement – Exhibit 1                                                p. 3 of 3
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                                                             Exhibit 2, p. 1
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       Case 1:22-cv-00448-DAE                                                         Document 83-1       Filed 05/24/24          Page 13 of 27
                                                                                                                                     Exh. 5, p. 1
                                                                                                                                                               1


                                                                                           Final Report
   Investigation of the Culture and Climate in the Round Rock Police Department


On September 11th , the Round Rock Independent School District contracted with Patricia
Linares, Ph. D to conduct 2 formal investigations. The first investigation consisted of a review of
documents and one on one interviews with Mr. Joseph Burleson and Chief [?ennis Weiner to
address a complaint filed against Chief Weiner. This investigation was comJTuted and resolved
on September 22nd, 2023.                                                11,,,    '"��1•,
                                                                                                                        \j"tJi:b,h___   -✓{ti\,, _ r;'::'.-.
The second investigation was to determine the culture and climaJ;� of tl1'�po1ioEj!J)epll:f1(nent.
This investigation began on October 2nd and concluded on o S��b;p:¾!t,h ofi2isi/fli\,consulta nt
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conducted 37 one on one (45 minutes in length) interview!(with current social workers, police
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officers, sergeants, the assistant chief, and support staff)n the d!;!partmeht, 't
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 In an effort to conduct a valid and unbiased investjga!i;�;  <:·:;),":;, __,___ , ->.
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                                                                                                             with both
quantitative and qualitative data for analysis. )it,>r stiiff!lir;r;!!dt.ly,.i,vorking in the Police
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Department, they were given a Likert scale c;m;tfuestiorisl(td�t�ifliJne the culture and climate of
the department and then questioned by the intEJ!�i.iwer vJft):tpoignant questions regarding
culture and climate along with questiQit�6I·'ii'pghti4R in Ligbthbuse reports. All interviews were
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anonymous, and no documents rpvealejl any 11arµes orccdistingulshing attributes of the people
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interviewed. Interviewees we,re, ib1cl th�t:i!�ythirtkstat�d in the interview would remain
anonymous, Staff were req!)Tred to sign a i:6Qfid¢Wtiality agreement to ensure the anonymity
of the answers provide<:L ,. :;,:c,, ,f;c•     .,:,.. ,'</>       ,•,,,•;, •••i-/"'
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The following is a ri;tport �ltre ffRdings gattfered from the Likert Scale summary and interview
questions (see atta�fi;;r1:1ocurili;!ntaTiin1 .
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    :,;Jft,Jhe cultJ?�•/,lpcls;limate are extremely negative and there is little to no cohesiveness in
       i'
          1
            tl)e,depart[)'l��t. Descriptions of the department include: toxic, very divided, a lot of
           teii'slqD, £�'Jotic, lack of leadership, full of favoritism, no organization, top down,
           Intimidating, disorganized, no two-way communication, lack of trust, unstable, hostile,
           full of drama and mentally draining. A few said that it is good, okay or in a season of
          change, however the majority felt like it was very negative and at an all-time low.
    ► New/appropriate leadership is requested by many when asked what would make the
          department more efficient and effective.
    ► There is a lack of professional communication by the Chief (inappropriate comments
           made to and about police officers and sergeants), Staff is unhappy and felt the police
          officers were disrespected when the Chief said in a meeting that the officers may need
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                                                                                                       Exhibit 8, p. 1


Fwd: WAITING **TPIA 2024-345 AG Response and Responsive information
Jeremy Story <jeremy@jeremystory.org>                                                           Thu, May 23, 2024 at 1:30 PM
To: Solomon Norred <sgn@norredlaw.com>, Ty Harding <ty@norredlaw.com>, Marie Anderson <marie@norredlaw.com>
Cc: Warren Norred <wnorred@norredlaw.com>




        Begin forwarded message:

        From: Open Records <open_records@roundrockisd.org>
        Subject: WAITING **TPIA 2024-345 AG Response and Responsive information
        Date: May 14, 2024 at 11:11:41 AM CDT
        To: Jeremy Story <jeremy@jeremystory.org>

        Here is a copy of the AG Opinion and the responsive information to your request. Please recall that we have sent a
        portion of this request to you on April 3, 2024




        Sincerely,

        Open Records & Legal Services Department

        open_records@roundrockisd.org

        Round Rock ISD

        1311 Round Rock Ave

        Round Rock, TX 78681

        512-428-7982 (Office)

        512-464-5956 (Fax)
3 attachments
                Case 1:22-cv-00448-DAE          Document 83-1   Filed 05/24/24   Page 24 of 27
   AG Opinion TPIA 2024-293,295,296(SAME).pdf                                        Exhibit 8, p. 2
   423K
   RRISD PD J-Culture and Climate Report.pdf
   696K
   Culture and Climate Report ii.pdf
   1176K
 Case 1:22-cv-00448-DAE                   Document 83-1              Filed 05/24/24           Page 25 of 27
                                                                                                  Exhibit 9, p. 1

                                                                                         Requestor Copy
                                                                                         No   mailing address provided

                                             KEN PAXTON
                                       .Vi'lORNKV Cil-.NKKAI. ()(●   iHAAS




May 10. 2024




Mr. Jacob W<^lston
Senior Stafl^tlorney
Round Rook Independent School District
1311 Round Rock Avenue
Round R^ock. Texas 78681

                                                                                               OR2024-016573


Dear Mr. Woolslon:


You ask whether certain information is subject to required public disclosure under the
Public Information Act (the 'V\ct"). chapter 552 of the Government Code. Your request
was assigned ID# 24-009558 (TPIA Nos. 2024-293. 2024-295. and 2024-296).

The Round Rock Independent School District (the ’’district") received three requests from
three different requestors for certain information pertaining to the district police
department, including a specilled report. You claim the submitted information is excepted
from disclosure under sections 552.108 and 552.1 16 of the Government Code.                              We have
considered the exceptions you claim and reviewed the submitted information.

Initially, we note, although the district indicates some of the submitted information, which
you marked, is not responsive to the instant requests, upon review, we llnd the final report
you marked is responsive to the requests for information because it is information specified
in the requests. Accordingly, we will consider the applicability of any exceptions to
disclosure of the final report. We will also consider the district's arguments against
disclosure of the remainimz information.


Next, we note the submitted information is subject to section 552.022 of the Government
Code. Section 552.022(a) provides, in relevant part:

        (a) ['f]he following categories of information arc public information and not
        excepted from required disclosure unless made confidential under this chapter or
        other law:


    Posr Office Bo.x 12548, Austin, Tcx-.is 78“11 2.S48 ● (.512) 4tj.5 -21(K) ● \v\v\v.tcx:is;iiiomcygcncnil.gov
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                                                                                Exhibit 9, p. 2
Mr. Jacob Woolston - Page 2



               (1) a completed report, audit, evaluation, or investigation made of, for, or by
               a governmental body, except as provided by Section 552.108[,]

Gov’t Code § 552.022(a)(1). We note the submitted information consists of a completed
investigation. This information is subject to section 552.022(a)(1). The district must release
this information, unless it is excepted from disclosure under section 552.108 of the
Government Code or expressly made confidential under the Act or other law. See id
552.022(a)(1). Although you raise section 552.116 of the Government Code for the
information at issue, this section is a discretionary exception to disclosure and does not
make information confidential under the Act. See Open Records Decision Nos. 665 at 2
n.5 (2000) (discretionary exceptions generally), 663 at 5 (1999) (waiver of discretionary
exceptions). Therefore, none of the submitted information may be withheld under section
552.116. However, as information subject to section 552.022(a)(1) may be withheld under
section 552.108 of the Government Code, we will consider your argument under this
exception for the information at issue.

Section 552.108(b)(1) of the Government Code excepts from disclosure the internal records
and notations of law enforcement agencies and prosecutors when their release would
interfere with law enforcement and crime prevention. Gov’t Code § 552.108(b)(1); see also
Open Records Decision No. 531 at 2 (1989) (quoting Ex parte Pruitt, 551 S.W.2d 706
(Tex. 1977)). A governmental body claiming section 552.108(b)(1) must explain how and
why the release of the requested information would interfere with law enforcement. See
Gov’t Code §§ 552.108(b)(1), .301(e)(1)(A); see also Ex parte Pruitt, 551 S.W.2d 706.
Section 552.108(b)(1) is intended to protect “information which, if released, would permit
private citizens to anticipate weaknesses in a police department, avoid detection, jeopardize
officer safety, and generally undermine police efforts to effectuate the laws of this State.”
See City of Fort Worth v. Cornyn, 86 S.W.3d 320, 327 (Tex. App.—^Austin 2002, no pet.).
This office has concluded section 552.108(b)(1) excepts from public disclosure information
relating to the security or operation of a law enforcement agency. See, e.g.. Open Records
Decision Nos. 531 (release of detailed use of force guidelines would unduly interfere with
law enforcement), 252 (1980) (section 552.108 of the Government Code is designed to
protect investigative techniques and procedures used in law enforcement), 143 (1976)
(disclosure of specific operations or specialized equipment directly related to investigation
or detection of crime may be excepted). Section 552.108(b)(1) is not applicable, however,
to generally known policies and procedures. See, e.g. Open Records Decision Nos. 531
at 2-3 (Penal Code provisions, common law rules, and constitutional limitations on use of
force not protected), 252 at 3 (governmental body failed to indicate why investigative
procedures and techniques requested were any different from those commonly known).
However, upon review, we find the district has not demonstrated release of any of the
information at issue would interfere with law enforcement or crime prevention.
Accordingly, the district may not withhold any of the information at issue under
section 552.108(b)(1) of the Government Code. Accordingly, the district must release the
submitted information.
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                                                                                 Exhibit 9, p. 3
Mr. Jacob Woolston - Page 3


This letter ruling is limited to the particular information at issue in this request and limited
to the facts as presented to us; therefore, this ruling must not be relied upon as a previous
determination regarding any other information or any other circumstances.

This ruling triggers important deadlines regarding the rights and responsibilities of the
governmental body and of the requestor. For more information concerning those rights and
responsibilities, please visit our website at hups: ’\s \v\\-lc\as:.utornc\ ^cncral.^o^ opcn-
uoycrnmenl'incmbers-public vvhal-cxpcct-alier-mlinu-issucd or call the OAG’s Open
Government Hotline, toll free, at (877) 673-6839. Questions concerning the allowable
charges for providing public information under the Public Information Act may be directed
to the Cost Rules Administrator of the OAG. toll free, at (888) 672-6787.


Sincerely.

D. Michelle Case
Assistant Attorney General
Open Records Division

DMH/jxd

Ref:    ID# 24-009558


c:     3 Requestors
